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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al., 1                           Case No. 24-12480 (JTD)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, James Roy, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        On January 2, 2025, at my direction and under my supervision, employees of Kroll caused
the following document to be served (1) by the method set forth on the Core/2002 Service List
attached hereto as Exhibit A; and (2) via Overnight Mail on the Notice Parties Service List
attached hereto as Exhibit B:

     •       Notice of Amended Cure Schedule [Docket No. 597]




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom
VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight
FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587),
Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC (8288), American
Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC (5940), American
Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco
S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet, LLC (n/a), American Freight
Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836),
Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968), Franchise Group Intermediate V,
LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise
Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC
(8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition,
LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco,
LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW
Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group
Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court,
Suite J, Delaware, Ohio 43015.
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Dated: January 9, 2025
                                                                  /s/ James Roy
                                                                  James Roy
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on January 9, 2025, by James Roy, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                             2
                                                                                   SRF 84944
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                                                                                                                          Exhibit A
                                                                                                                    Core/2002 Service List
                                                                                                                   Served as set forth below

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           Case No. 24‐12480 (JTD)                                                                                       Page 1 of 10
                                                                        Case 24-12480-JTD                       Doc 725              Filed 01/11/25                 Page 5 of 17
                                                                                                                            Exhibit A
                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

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           Case No. 24‐12480 (JTD)                                                                                         Page 2 of 10
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                                                                                                                             Exhibit A
                                                                                                                       Core/2002 Service List
                                                                                                                      Served as set forth below

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                                                                                                                            Exhibit A
                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

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                                                                                                                           Exhibit A
                                                                                                                     Core/2002 Service List
                                                                                                                    Served as set forth below

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                                                                                                                       Core/2002 Service List
                                                                                                                      Served as set forth below

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                                                                                                                   Core/2002 Service List
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                                                                                                                  Core/2002 Service List
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Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton
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                                                                                                                    Core/2002 Service List
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                                                                                                                Core/2002 Service List
                                                                                                               Served as set forth below

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                                                                        Notice Parties Service List
                                                                        Served via Overnight Mail

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29791145    VDF FutureCeuticals, Inc.                 300 Harmon Meadow Blvd.                         Secaucus               NJ     07094
29791148    Vera Roasting Company, Inc.               75 Congress St, STE L05                         Portsmouth             NH     03801
29791150    Veriditas by Pranarom                     2301 Nevada Ave N                               Minneapolis            MN     55427
29606709    Veritiv Operating Company                 PO BOX 57006                                    Los Angeles            CA     90074‐7006
29791151    VerMints Inc.                             106 Finnell Drive, Unit 19                      Weymouth               MA     02188
29791152    Vertex, Inc.                              1041 Old Cassatt Road                           Berwyn                 PA     19312
29791153    Vestiage, Inc.                            2901 W. Coast Highway                           Newport Beach          CA     92663
29785460    VH Nutrition                              51 Zaca Lane                                    San Luis Obispo        CA     93401
29791154    VH Nutrition LLC                          51 Zaca Lane Suite 90                           San Luis Obispo        CA     93401
29791155    Vibrant Health                            1 Waterview Dr                                  Shelton                CT     06484
29791157    Vida Lifescience, LLC                     16691 Noyes Avenue                              Irvine                 CA     92606
29783746    Vigor S.A.                                Teodoro S. Mongelos 3373                        Asuncion                      1228       Paraguay
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29791161    Vital Amine Inc.                          1431 Pacific Hwy Suite 4                        San Diego              CA     92101
29791162    Vital Pharmaceuticals, Inc.               1600 North Park Drive                           Weston                 FL     33326
29791163    Vital Planet, LLC                         133 Candy Ln.                                   Palm Harbor            FL     34683
29791164    Vitalah LLC                               111 Jennings Dr                                 Watsonville            CA     95076
29785468    Vitamin and Supplement Wholesalers Inc.   3600 W. Commercial Blvd                         Fort Lauderdale        FL     33309
29785470    Vitamin Friends, LLC                      5300 Beethoven Street                           Los Angeles            CA     90066
29791167    Vitamin Shoppe Industries Inc.            2101 91st Street                                North Bergen           NJ     07047
29791168    Vitamin Well USA LLC                      3865 Grand View Blvd                            Los Angeles            CA     90066
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29791170    Vitamins International Inc.               6721 Discovery Blvd                             Mableton,              GA    30126
29791171    Vitanica                                  PO Box 1299                                     Tualatin,              OR    97062
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29791173    VitaPath, Inc.                            2101 91st Street                                North Bergen           NJ    07047
29791174    Vitargo Global Sciences, LLC              32565 B Golden Lantern St PMB 232               Dana Point             CA    92629
29783740    Vitasalud                                 Avenida Nuñez De Caceres Esq. Sarasota          Santo Domingo                            Dominican Republic
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29791178    Voss Production AS                         236 W 30th st, FL 12                             New York              NY     10001
29791180    VSC Holdings, Inc.                         10516 Route 116, Suite 200                       Hinesburg             VT     05461
29791182    W.B. Mason                                 Lockbox 735178, PO Box 735178                    Chicago               IL     60673‐5178
29791181    W.B. Mason                                 300 Harmon Meadow Blvd                           Secaucus              NJ     07094
29791183    W.S. Badger Co., Inc.                      768 Route 10                                     Gilsum                NH     03448
29791184    Wakunaga of America Co., Ltd.              23501 Madero                                     Mission Viejo         CA     92691
29606513    Walker‐Clay, Inc.                          211 Station Street                               Hanson                MA     02341
29791185    Wal‐Mart.com USA, LLC                      850 Cherry Avenue                                San Bruno             CA     94066
29791188    Warren Laboratories LLC                    1656 IH 35 S                                     Abbott                TX     76621
29791189    Watkins Incorporated                       150 LIBERTY STREET                               Winona                MN     55987
29791190    Wave Naturals Pet Products                 Cabot Rd ‐ 117                                   Laguna Hills          CA     91653
29791192    WEBER LOGISTICS, LLC                       13265 Valley Blvd.                               Fontana               CA     92335
29627737    Wedderspoon Organic                        334 Central Ave                                  Malvern               PA     19355
29791193    Wellements LLC                             8901 E. Pima Center Parkway                      Scottsdale            AZ     85258
29791194    Wellgenix, LLC                             118 W. Julie Dr                                  Tempe                 AZ     85283
29778158    Wellington Foods, Inc.                     1930 California Avenue                           Corona                CA     92881
29791195    Wess Hottenstein                           Address on File
29791196    Wess Hottenstein                           Address on File
29791197    Westech Recyclers                          220 S. 9th St. Suite 400B                        Phoenix               AZ    85034
29791198    Westgate Marketplace Developers, LLC       7725 W. Reno Ave.                                Oklahoma City         OK    73127
29791201    White Cloud Nutrition LLC                  PMB 2599                                         Castro Valley         CA    94546
29791202    White Egret                                950 West Kershaw                                 Ogden                 UT    84401
29791203    Wholesome Sweeteners, Inc.                 8016 Highway 90A                                 Sugar Land            TX    77478
29791204    Wibbitz Inc.                               85 Broad St.                                     New York              NY    10002
29791205    Wild Squirrel LLC dba/Wild Friends Foods   22265 SW Taylors Drive                           Tualatin              OR    97062
29791206    Wiley's Finest LLC                         PO Box 1665                                      Coshocton             OH    43812
29791207    Windecker Contruction LLC                  2101 91st Street                                 North Bergen          NJ    07047
29785516    Windecker LLC.                             39‐30 Sycamore Drive                             Fairlawn              NJ    07410
29791208    Windmill Health Products                   6 Henderson Drive                                West Caldwell         NJ    07006
29791210    Wisconsin Specialty Protein, LLC           1605 John Street, Suite 201A                     Fort Lee              NJ    07024
29791211    Wisdom Natural Brands                      1203 W. SanPedro Street                          Gilbert               AZ    85233
29791212    WishGarden Herbs, Inc.                     3100 Carbon Pl. #103                             Boulder               CO    80301
29791214    WOMEN'S BEST USA, LLC                      215 S. Monroe Street, Suite 200                  Tallahassee           FL    32301


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                                                                                 Exhibit B
                                                                          Notice Parties Service List
                                                                          Served via Overnight Mail

  ADRID                          NAME                                        ADDRESS                               CITY         STATE POSTALCODE   COUNTRY
29791215    Woodbolt Distribution, LLC                  715 N. Main Street                              Bryan                   TX    77803
29791216    Woods Bagot                                 Address on File
29791217    World Nutrition Inc                         200 % N. SCOTTSPACE RD                          SCOTTSDALE              AZ   85253
29791218    World Sports Expo                           1920 Booth Circle, Suite 100                    Longwood                FL   32750
29791219    World Triathlon Corporation                 3407 W. DR. MARTIN LUTHER KING JR. BLVD         Tampa                   FL   33607
29791220    WorldWide/Pure Protein                      241 Bellwood Drive                              West Mifflin            PA   15122
29791221    Xlear Inc.                                  723 S. Auto Mall Drive                          American Fork           UT   84003
29791222    XPO Logistics, LLC                          13777 Ballantyne Corporate PL                   Charlotte               NC   28277
29791223    XTREME BEAUTY INTERNATIONAL                 15400 NW 34 AVENUE                              Miamia Gardens          FL   33054
29791224    Yerba Prima Inc                             740 Jefferson Avenue                            Ashland                 OR   97520
29791225    YES 18 INC                                  655 4THE 2ND FLOOR                              SAN FRANSVERS           CA   94107
29791226    Yes To Inc.                                 655 Fourth Street Second Floor                  San Francisco           CA   94107
29791227    YogaRat                                     2703 Pico Blvd                                  Santa Monica            CA   90405
29791228    You Fresh Natural Vending, LLC              3240 Corporate Way                              Miramar                 FL   33025
29606562    YouBar Inc                                  597 Monterey Pass Rd                            Monterey Park           CA   91754
29791229    YUP Brands LLC                              3960 Howard Hughes Pkwy Suite 500               Las Vegas               NV   89169
29791230    Zarbee's Naturals                           11650 South State Street #101                   Draper                  UT   84020
29791231    Zeavision                                   680‐F Crown Industrial Court                    Chesterfield            MO   63005
29791232    Zeb Jafri                                   Address on File
29791234    Zeikos                                      86 Northfield Ave.                              EDISON                  NJ   08837
29791235    Zenrin USA, Inc.                            851 Traeger Avenue Suite 210                    San Bruno               CA   94066
29791237    Zhena's Gypsy Tea                           6041 Triangle Dr.                               Commerce                CA   90040
29791238    Zhou, Inc.                                  1777 Sun Peak Drive                             Park City               UT   84098
29791239    Zing Anything LLC                           1760 Wadsworth Rd                               Akron                   OH   44320
29791240    Zint LLC                                    334 County Route 49                             Middletown              NY   10940
29791241    Zionhealth Incorporated                     430 E Grand Avenue                              South San Francisco     CA   94080
29791242    Zipfizz Corporation                         18303 Bothell‐Everett Hwy, Suite 140            Mill Creek              WA   98012
29791243    ZOA Energy LLC                              5301 Wisconsin Ave. NW Suite 570                Washington              DC   20015
29630314    Zoho Corporation                            4141 HACIENDA DRIVE                             Pleasanton              CA   94588‐8519
29791244    ZoomInfo                                    275 Wyman St.                                   Waltham                 MA   02451
29791245    Zorb Naturals, LLC dba HCP Formulas         2700 N. 3rd St. Suite 2014                      Phoenix                 AZ   85004
29791246    Zulily, llc                                 2601 Elliott Avenue                             Seattle                 WA   98121




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